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 4   (702) 472-8686
     leventhalandassociates@gmail.com
 5   Attorney for Leonardo A. Oliveira Santos
 6
                                   UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,           )
10                                       )                2:17-cr-00001-JAD-CWH
                       Plaintiff,        )
11                                       )                STIPULATION TO CONTINUE
           vs.                           )                SENTENCING AND DISPOSITION
12                                       )
      LEONARDO A. OLIVEIRA SANTOS,       )
13                                       )
                       Defendant.        )
14   ____________________________________)
15
            IT IS HEREBY STIPULATED AND AGREED by and between Defendant, LEONARDO
16
     A. OLIVEIRA SANTOS, by and through his counsel, TODD M. LEVENTHAL, ESQ., and the
17
     United States of America, by its counsel, JOHN P. BURNS, Assistant U.S. Attorney, that the
18
     Sentencing and Disposition in the above-captioned matter currently set for Monday February 5,
19
     2018 for at least 120 days.
20
            This Stipulation is entered into for the following reasons
21
            1.      Mr. Leventhal will be appearing in State court for another matter on Monday
22
                    February 5, 2018 at the same time and will not be available.
23
            2.      There are pending issues that remain which are vital to the Sentencing and
24
                    Disposition of Mr. Oliveira-Santos.
25
            3.      Mr. Oliveira-Santos is currently in custody and agrees with this request.
26
            4.      Mr. Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
27
                    and he has no objection to continue the hearing.
28
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 1
 2        5.     Additionally, denial of this request for a continuance could result in a miscarriage
 3               of justice.
 4
 5        DATED this 1st day of February, 2018.
 6
 7 ___/s/ Todd M. Leventhal                                   ___/s/ John P. Burns
   TODD M. LEVENTHAL, ESQ.                                     JOHN PATRICK BURNS
 8 Counsel for Mr. Oliveira-Santos                             Assistant U.S. Attorney
 9
10
          Submitted By: LEVENTHAL & ASSOCIATES, PLLC
11
12
                                                       By:        /s/ Todd M. Leventhal
13
                                                               TODD M. LEVENTHAL, ESQ.
14                                                             Leventhal & Associates, PLLC
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16                                                             Las Vegas, Nevada 89101
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                                                               Attorney for: Mr. Oliveira-Santos
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            Case 2:17-cr-00001-JAD-DJA         Document 246        Filed 02/01/18      Page 3 of 4



 1
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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
10
     UNITED STATES OF AMERICA,           )
11                                       )             2:17-CR-00001-JAD-CWH
                       Plaintiff,        )
12                                       )
           vs.                           )
13                                       )
     LEONARDO A. OLIVEIRA SANTOS,        )
14                                       )
                       Defendant.        )
15   ____________________________________)
16
                                           FINDINGS OF FACT
17
             Based on the stipulation of counsel, and good cause appearing, the Court finds that:
18
19
             1.     Mr. Leventhal will be appearing in State court for another matter on Monday
20
                    February 5, 2018 at the same time and will not be available.
21
             2.     There are pending issues that remain which are vital to the Sentencing and
22
                    Disposition of Mr. Oliveira-Santos.
23
             3.     Mr. Oliveira-Santos is currently in custody and agrees with this request.
24
             4.     Mr. Leventhal has spoken to JOHN P. BURNS, Assistant United States Attorney,
25
                    and he has no objection to continue the hearing.
26
     ////
27
     ////
28
          Case 2:17-cr-00001-JAD-DJA              Document 246       Filed 02/01/18       Page 4 of 4



 1           5.      Additionally, denial of this request for a continuance could result in a miscarriage
 2                   of justice.
 3                                        CONCLUSIONS OF LAW
 4           1.    For all the above-stated reasons, the ends of justice would best be served by granting
 5
                   the requested continuance of the current Sentencing date for at least 120 days at a
 6
                   time convenient for the court.
 7
                                                     ORDER
 8
                   Accordingly, IT IS SO ORDERED that the current Sentencing of Mr. Oliveira-
 9
     Santos is vacated and the same is continued and reset for ______ day2018,
                                                               June 11,   ___________,  2018,
                                                                               at the hour    at the
                                                                                           of 9:00
10
     a.m.,ofin__________,
     hour      Courtroom in
                          6D.
                            Courtroom # ____.
11
12                                                   __________________________________
                                                     JENNIFER A. DORSEY
13    DATED: 2/1/2018                                UNITED STATES DISTRICT JUDGE
14
                                        CERTIFICATE OF SERVICE
15
16           I hereby certify that on the 1st day of February, 2018 a true and correct copy of the,

17 STIPULATION AND ORDER TO CONTINUE SENTENCING AND DISPOSITION
18
     was filed through the CM/ECF filing system and was electronically served to the following
19
     registered addresses on file for this instant case :
20
21
22 John Patrick Burns : John.P.Burns@usdoj.gov, USANV.team2@usdoj.gov,
   veronica.criste@usdoj.gov
23
24                                             /s/ Todd M. Leventhal
                                             An Employee of TODD M. LEVENTHAL, ESQ.
25                                           LEVENTHAL AND ASSOCIATES, PLLC.
26
27
28
